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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

OKLAHOMA SPECIALTY                              §
INSURANCE COMPANY,                              §
                                                §
             Plaintiff,                         §
                                                §
vs.                                             §                        15-262
                                                        CIVIL ACTION NO. - ----
                                                §
KUNG FU SALOON HOLDINGS, LLC,                   §
AND ROBERT CAMILLONE,                           §
                                                §
            Defendants.                         §

                            PLAINTIFF'S ORIGINAL COMPLAINT
                              FOR DECLARATORY JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201, Oklahoma

Specialty Insurance Company ("Plaintiff' or "Oklahoma Specialty") files this Original

Complaint for Declaratory Judgment, complaining of Kung Fu Saloon Holdings, LLC and

Robert Camillone, and for cause of action would respectfully show the Court as follows:

                                               I.
                                         JURISDICTION

       1.        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a),

because complete diversity of citizenship exists between the Plaintiff and each of the Defendants

and the amount in controversy exceeds $75,000, exclusive of interest and costs.

                                               II.
                                            PARTIES

       2.        Plaintiff Oklahoma Specialty Insurance Company ("Oklahoma Specialty") is a

foreign insurance company with its principal place of business located in Oklahoma City,




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Oklahoma. Oklahoma Specialty is duly authorized to engage in the business of insurance in the

State of Texas, and does engage in such business in Texas.

       3.       Defendant, Kung Fu Saloon Holdings, LLC ("Kung Fu") is a Texas corporation

duly authorized to conduct business in Texas, which does conduct business in Texas, and which

maintains its corporate headquarters and principal place of business in Austin, Travis County,

Texas. Kung Fu may be served with process by serving its designated agent for service, Thomas

M. Watson, at 500 Capital of Texas Hwy North, Suite C, Austin, Texas 78703, or at such other

place where he may be found.

       4.       Defendant, Robert Camillone ("Camillone"), is an individual domiciled in the

State of Texas and may be served where he may be found. (collectively Kung Fu and Camillone

are the "Defendants").

                                                III.
                                     FACTUAL BACKGROUND

       5.       Pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, Oklahoma

Specialty seeks a declaration of the parties' rights and duties under an insurance policy that

Oklahoma Specialty issued to Kung Fu, specifically as that policy relates to claims Joseph

O'Hare (O'Hare) has asserted against Defendants in an underlying lawsuit currently pending in a

Travis County, Texas.

A.     The Underlying Lawsuit

       6.       On or about November 24,2014, O'Hare commenced the following numbered and

styled Cause No. D-1-GN-14-004917, Joseph O'Hare v. Kung Fu Saloon Holdings, LLC and

Robert Camillone (the "underlying lawsuit").      The underlying lawsuit against Defendants is

pending before the 419th Judicial District Court of Travis County, Texas.

       7.       Oklahoma Specialty is not a party to the underlying lawsuit.


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        8.      O'Hare alleges that he suffered bodily injury when Camillone, an employee of

Kung Fu, grabbed O'Hare around his neck, lifting him up off the ground and carried him toward

the exit door and then tossed him to the ground. After this incident, O'Hare was then rushed to

University Medical Center Brackenridge where he underwent emergency brain surgery for life

threatening injuries he sustained at Kung Fu.

        9.       In connection with the alleged assault and battery, O'Hare has sued the

Defendants for "infliction of bodily injury", and has sued Kung Fu for vicarious liability

(respondeat superior), and negligent hiring, training, retention and supervision.

        10.     In the Underlying Lawsuit, O'Hare asserted damages for the following:

                a. Medical, hospital, and pharmaceutical changes and expenses in the past and

                   future;

                b. Pain and suffering in the past and in the future;

                c. Mental anguish suffered in the past and in the future;

                d. Disability and impairment in the past and in the future.

B.      Oklahoma Specialty Insurance Policy

        11.     On or about December 28, 2013, Oklahoma Specialty issued a policy of

Commercial General Liability Insurance to Kung Fu 1• The Policy was issued under number

AXOSGL 10000000034600, is an eroding policy with effective dates of December 28, 2013 to

December 28, 2014 (the "Policy"). A true and correct copy of the Policy is attached to this

pleading as Exhibit "A" and incorporated herein for all purposes.

        12.     The Policy consists of several coverage parts including a Commercial General

Liability Coverage Part, and a Liquor Liability Coverage Part. Both of these parts are modified

1
 Specifically, the Policy was issued to Kung Fu Managers; Washington Guys LLC; Grande Guys LLC d/b/a Kung
Fu Saloon. Kung Fu is a member of the respective LLC's referenced herein.


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by, among other endorsements, an Assault and Battery Coverage Sublimit and an exclusion for

Fines, Penalties, Punitive and Exemplary Damages and Multiple Damages.

       13.      Per the Commercial General Liability Coverage Part, the following provides, in

relevant part, the scope of coverage for Bodily Injury and Property Damage Liability:


                SECTION I- COVERAGES

                COVERAGE A BODILY                INJURY      AND     PROPERTY
                DAMAGE LIABILTY

                 1. Insuring Agreement

             a. We will pay those sums that the insured becomes legally obligated
                to pay as damages because of "bodily injury" or "property damage"
                to which this insurance applies. We will have the right and duty to
                defend the insured against any "suit" seeking those damages.
                However, we will have no duty to defend the insured against any
                "suit" seeking damages for "bodily injury" or "property damage" to
                which this insurance does not apply.
                ******************************************************
             b. This insurance applies to "bodily injury" and "property damage"
                only if:

       (1)      The "bodily injury" or "property damage" is caused by an
                "occurrence" that takes place in the "coverage territory"; and

       (2)      The "bodily injury" or "property damage" occurs during the policy
                period;
                ******************************************************
       c.       "Bodily injury" or "property damage" which occurs during the
                policy period and was not, prior to the policy period, known to
                have occurred by any insured listed under Paragraph 1. of Section
                ll - Who ls An Insured or any "employee" authorized by you to
                give, or receive notice of an "occurrence" or claim, includes any
                continuation, change or redemption of that "bodily injury" or
                "property damage' after the end of the policy period

       d.       "Bodily injury" or "property damage" will be deemed to have been
                known to have occurred at the earliest time when any insured listed
                under Paragraph 1. of Section II Who Is An Insured or any
                "employee" authorized by you to give or receive notice of an
                "occurrence" or claim:


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        (1)        Reports all, or any part, of the "bodily injury" or "property
                   damage" to us or any other insurer;
       (2)         Receives a written or verbal demand or claim for damages
                   because of the "bodily injury" or "property damage"; or
        (3)         Becomes aware by any other means that "bodily injury" or
                   "property damage" has occurred or has begun to occur.

       e.          Damages because of "bodily injury" include damages claimed by
                   any person or organization for care, loss of services or death
                   resulting at any time from the "bodily injury".

See Ex. A, at CGOO 01 12 07, pg. 1-2 of 16.

        14.        The Commercial General Liability Coverage has several exclusions, one of

which is the following:

                   2.     Exclusions

                   This insurance does not apply to:

              a.   Expected Or Intended Injury

                   "Bodily injury" or "property damage" expected or intended from
                   the standpoint of the insured. This exclusion does not apply to
                   'bodily injury" resulting from the use of reasonable force to protect
                   persons or property.

See Ex. A, at CGOO 01 12 07, pg. 2 of 16.

       15.         The Policy also has a Medical Payments exclusion. Such exclusion is referenced

in the Declarations, in the Limits oflnsurance Section (See Exhibit A, at CG DS 01 07 98, at 1 of

3.), and the endorsement entitled EXCLUSION- COVERAGE C- MEDICAL PAYMENTS

which states as follows:

                   With respect to any premises or classification shown m the
                   Schedule:

              1. Section I - Coverage C - Medical Payments does not apply and
                 none of the references to it in the Coverage Part apply: and

              2. The following is added to Section I- Supplementary Payments:


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                h. Expenses incurred by the insured for first aid administered to
                other at the time of an incident for "bodily injury" to which this
                insurance applies.

See Ex. A, at CG 213510 01, at 1 of 1.

       16.      The Commercial General Liability Coverage also provides who is, and in some

cases, who is not, an "Insured" under the Policy.       Below is a relevant portion of the Policy's

applicable Section:

                SECTION II - WHO IS AN INSURED, of CGOO 01 12 07
                which states in pertinent part:

                1.      If you are designated in the Declarations as:
                 *****************************************************
             c. A limited liability company, you are an insured. Your members are
                also insureds, but only with respect to the conduct of your
                business. Your managers are insureds, but only with respect to
                their duties as your managers.

                2.             Each of the following is also an insured:
                ******************************************************
       a.       Your "volunteer workers" only while performing duties related to
                the conduct of your business, or your "employees", other than
                either your "executive officers" (if you are an organization other
                than a partnership, joint venture or limited liability company) or
                your managers (if you are a limited liability company), but only for
                acts within the scope of their employment by you or while
                performing duties related to the conduct of your business.

                No person or organization is an insured with respect to the conduct
                of any current or past partnership, joint venture or limited liability
                company that is not shown as a Named Insured in the Declarations.

See Ex. A, at CGOO 0112 07, pg. 9 of 16.

       17.      The Commercial General Liability Coverage also defines several terms essential

for determining coverage. Included below are the relevant terms:


                 SECTION V- DEFINITIONS
       ************************************************************

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        3.       "Bodily injury" means bodily injury, sickness or disease sustained
                 by a person, including death resulting from any of these at any
                 time.
        ************************************************************
        5.       "Employee" includes a "leased worker". "Employee" does not
                 include a "temporary worker".
        ************************************************************
        13.      "Occurrence" means an accident, including continuous or repeated
                 exposure to substantially the same general harmful conditions.

        14.      "Personal and advertising injury" means injury, including
                 consequential "bodily injury", arising out of one or more of the
                 following offenses:

        a.      False arrest, detention or imprisonment;
        b.      Malicious prosecution;
        c.      The wrongful eviction from, wrongful entry into, or invasion of the
                right of private occupancy of a room, dwelling or premises that a
                person occupies, committed by or on behalf of its owner, landlord
                or lessor;
        d.      Oral or written publication, in any manner, of material that
                slanders or libels a person;
        e.      Oral or written publication, in any manner, of material that violates
                a person's right of privacy;
        f.      The use of another's advertising idea in your "advertisement"; or
        g.      Infringing upon another's copyright, trade dress or slogan in your
                "advertisement".

See Ex. A, at CGOO 01 12 07, at 12-14 of 16.

        18.     As noted above, the Commercial General Liability Policy has several

endorsements that impact coverage and/or modifies the limits of insurance. Outside of any

endorsement that modifies the limits of insurance, the Commercial General Liability Policy

excludes medical expenses, and has an occurrence limit of $1,000,000.00 per applicable

occurrence with an aggregate limit of $2,000,000.00. See Exhibit A, at CG DS 01 07 98, at 1 of

3. The Assault and Battery Sublimit is an endorsement that modifies the limits of insurance and

is stated in its entirety as follows:

                SECTION III- LIMITS OF INSURANCE is amended and the
                following added:


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              Subject to 4.and 5, the most we will pay under COVERAGE A and
              B for claims made against you caused by and Section III- Limits
              Of INSURANCE Paragraph 2 & 3 of the Liquor Liability
              Coverage Form

              (1)    Assault and Battery committed by any person;

              (2)    The failure to suppress or prevent assault and battery by
              any person;

              (3)     The failure to provide an environment safe from assault and
              battery or failure to warn of the dangers of the environment which
              could contribute to assault and battery;

              (4)    The negligent hiring, supervision, or training or any person;
              or

              (5)     The use of any force to protect persons or property whether
              or not the "bodily injury" or "property damage" was intended from
              the standpoint of the insured or committed by or at the direction of
              the insured

              And to which this is insurance applies is shown below for this
              coverage:

              $100,000 Each Claim Limit

              $100,000 Aggregate Limit

          I   $5,000 Deductible

              The Aggregate Limit shown above is the most we will pay as
              damages because of "bodily injury", "property damage", or
              "personal and advertising injury" sustained and expenses incurred
              in the defense and adjustment of claims and "suits" regardless of
              how many persons assert claims or "suits" against you.

              Subject to the Aggregate Limit shown above, the Each Claim
              Limit is the most we will pay as damages because of "bodily
              injury", "property damage", or "personal injury and advertising
              injury" sustained and expenses incurred in the defense and
              adjustment of claims and "suits" asserted in any one claim. All
              claims for damages made by one or more persons because of any
              one act of series of acts of assault and battery shall be deemed to
              be one claim.


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               The Each Claim and Aggregate Limits described above are the
               most we will pay regardless of the number of insured's. These
               Limits of Insurance are subject to and not in addition to the
               General Aggregate Limit shown in the Declarations page of the
               policy. Payments under these Limits of Insurance are part of and
               erode the General Aggregate Limit of Insurance shown in the
               Declarations page.

               All other terms and conditions of the policy remain unchanged.

See Ex. A, at CG AX 55 09 12, pg. 1 of 1.

       19.     Additionally, the Commercial General Liability Policy includes an exclusion for

punitive damages. The applicable exclusion is included in its entirety herein:

               This endorsement modifies insurance provided under the
               following:

               COMMERCIAL GENERAL LIABILITY COVERAGE FORM

       A.      The following exclusion is added to Paragraph 2. Exclusions of
               Section I - Coverage A - Bodily Injury And Property Damage
               Liability of the Commercial General Liability Coverage Part:
               This insurance does not apply to:

               Fines, Penalties, Punitive or Exemplary Damages, And
               Multiple Damages

               Sums that the insured becomes legally obligated to pay as:

               1.    Criminal or civil fines, sanctions, penalties or taxes
               imposed by law;

               2.     Punitive or exemplary damages; or

               3.     The multiplied portion of multiplied awards.

See Ex. A, at OSIC GL 01 17 07 12 and OSCI GL 01 18 07 12.

       19.     On March 11, 2015, on behalf of Oklahoma Specialty, third party administrator

Tristar Risk Management ("Tristar") sent Defendants reservation of rights letters reserving all of

Oklahoma Specialties' rights per the Policy.       The letters advised the Defendants of the


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reservation of rights including, among other things, the application of the Assault and Battery

Sublimit, the exclusion of punitive damages, and the exclusion of medical expenses. The letter

also advised that Oklahoma Specialty has not denied coverage, but was investigating coverage

issues and reserved all of its rights related to making a coverage determination.

                                                 IV.
                               DECLARATORY JUDGMENT ACTION

       20.     The foregoing paragraphs 5 through 19 of this pleading are incorporated herein by

reference, the same as if fully set forth here verbatim.

       21.     Oklahoma Specialty has commenced this suit to seek a judicial determination

regarding rights and obligations of Oklahoma Specialty in relation to the Policy and more

specifically, the application of the Assault and Battery Sublimit, the medical payments exclusion,

and the exclusion for punitive damages asserted in the Underlying Lawsuit against Kung Fu and

Camillone. Accordingly, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202,

Oklahoma Specialty petitions the Court for a judgment declaring as follows:

               1.      The Assault and Battery Sublimit found in endorsement
                       CG AX 55 09 12 applies to the claims asserted in the
                       Underlying Lawsuit and as such the limits of insurance
                       are $100,000;

               2.      The medical expenses claims in the Underlying Lawsuit
                       are excluded from coverage under the Policy per the
                       Declarations and Coverage C- Medical Payments
                       exclusion in CG 2135 10 01; and

               3.      The punitive damage claim in the Underlying Lawsuit is
                       excluded from coverage under the Policy per the Fines,
                       Penalties, Punitive or Exemplary Damages, And
                       Multiple Damages exclusion found in endorsement
                       OSIC GL 0117 07 12 and OSIC GL 0118 07 12.




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                                             PRAYER

       BASED ON THE FOREGOING, Plaintiff Oklahoma Specialty Insurance Company

requests by this pleading that the District Court Judge adjudge:

       (1)     That pursuant to the Assault and Battery Sublimit, the limits of insurance
               for each claim is $100,000 and the aggregate is also $100,000 from the
               claims asserted by O'Hare in Cause No. D-1-GN-14-004917, Joseph
               O'Hare v. Kung Fu Saloon Holdings, LLC and Robert Camillone pending
               before the 412th Judicial District Court of Travis County;

       (2)     The medical expenses claims in the Underlying Lawsuit are excluded from
               coverage under the Policy per the Declarations and Coverage C- Medical
               Payments exclusion in CG 21 35 10 01; and

       (3)     That pursuant to the Fines, Penalties, Punitive or Exemplary Damages,
               And Multiple Damages exclusion, Oklahoma Specialty owes no duty to
               indemnify the Defendants from the exemplary damages or punitive
               damages claims asserted by O'Hare in Cause No. D-1-GN-14-004917,
               Joseph O'Hare v. Kung Fu Saloon Holdings, LLC and Robert Camillone
               pending before the 412th Judicial District Court of Travis County;

       (4)     That such Plaintiff recover its reasonable and necessary attorneys' fees;
               and

       (5)     That such Plaintiff have such other and further relief, whether at law or in
               equity, to which it may be justly entitled.




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                                      Respectfully submitted,


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                                      COMPANY




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